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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                         :
                                                 :
                                                 :     Criminal Case: 18-218 (TSC)
             v.                                  :
                                                 :
                                                 :
MARIIA BUTINA, also known as                     :
MARIA BUTINA,                                    :
                                                 :
                         Defendant.              :

                        GOVERNMENT’S MEMORANDUM IN SUPPORT
                              OF PRETRIAL DETENTION

                                             Introduction

          The United States of America, by and through the U.S. Attorney for the District of

Columbia, submits this memorandum in support of the defendant’s pretrial detention.               As

explained below, and as the government will demonstrate at any hearing on this matter, Mariia

Butina (“Butina” or defendant) poses a serious risk of flight based on the nature of the charges,

her history of deceptive conduct, the potential sentence she faces, the strong evidence of guilt, her

extensive foreign connections, and her lack of any meaningful ties to the United States.

          The defendant, a Russian citizen, stands charged with violations of 18 U.S.C. §§ 371 and

951(a),     for   her   role   in   a   covert   Russian    influence   operation   in   the   United

States.    The charges in this case implicate not only Butina, but also the activities of a senior

Russian Federation official, the individual identified as the Russian Official in the Indictment, who

is now a specially designated national. Given these circumstances, Butina presents an extreme

risk of flight.
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       The defendant’s legal status in the United States is predicated on deception. She not only

has deep ties to her country (with which the United States has no extradition treaty) but actually

works on behalf of the Russian government. FBI surveillance over the past week has confirmed

that Butina has access to funds and an intention to move money outside of the United States.

Butina’s closest tie to the United States is the individual identified as U.S. Person 1 in the

Indictment, but she appears to treat that relationship as simply a necessary aspect of her activities.

Her last tie to the District of Columbia—her apartment lease—ends on July 31, 2018, and there

were boxes packed in her apartment consistent with a move at the time of her arrest on July 15,

2018. All of Butina’s known personal ties, save for those U.S. persons she attempted to exploit

and influence, reside in the Russian Federation.

        Because Butina has been exposed as an illegal agent of Russia, there is the grave risk that

she will appeal to those within that government with whom she conspired to aid her escape from

the United States. In sum, the Court should grant the government’s motion to detain Butina

pending trial.

                          Principles Governing Requests for Detention

       Under the Bail Reform Act, courts consider the following factors in determining whether

some condition, or combination of conditions, will reasonably assure the defendant’s appearance

at trial and pre-trial proceedings: the nature and circumstances of the charged offenses; the weight

of the evidence against the defendant; the history and characteristics of the defendant; and the

nature and seriousness of the danger to any person or to the community that would be posed by

the defendant’s release. 18 U.S.C. § 3142(g); see United States v. Bikundi, 47 F. Supp. 3d 131,

133 (D.D.C. 2014); United States v. Hong Vo, 978 F. Supp. 2d 41, 43 & n.1 (D.D.C. 2013).




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       At a detention hearing, the government may present evidence by way of a proffer. See

United States v. Smith, 79 F.3d 1208, 1209-10 (D.C. Cir. 1996); United States v. Roberson, No.

15-cr-121, 2015 WL 6673834, at *1 (D.D.C. Oct. 30, 2015).           When the government seeks to

detain a defendant on the ground that the defendant is a risk of flight pursuant to 18 U.S.C. § 3142

(f)(2)(A), the government must demonstrate the defendant’s flight risk by a preponderance of the

evidence. United States v. Xulam, 84 F.3d 441, 442 (D.C. Cir. 1996).

                   Factual Proffer of the Evidence Supporting the Charges

       The conduct charged in the Indictment arises from the defendant’s acting as an agent of the

Government of the Russian Federation. The United States proffers the factual allegations as set

out in the affidavit in support of a criminal complaint, which is attached hereto as Exhibit A and

incorporated herein.

       In sum, the defendant engaged in a years-long conspiracy to work covertly in the United

States as an undeclared agent of the Russian Federation in order to advance the interests of her

home country. The plan was calculated, patient, and directed by the Russian Official. The

defendant’s covert influence campaign involved substantial planning, international coordination,

and preparation. The plan for Butina also required, and she demonstrated, a willingness to use

deceit in a visa application to move to the United States and bring the plan to fruition.

                         Additional Information Supporting Detention

   1. Butina Appears to Have Ties to the Russian Intelligence Services

       The FBI has uncovered evidence during the course of executing several search warrants

that, during the course of her deployment to the United States, Butina was in contact with officials

believed to be Russian intelligence operatives. First, the defendant maintained contact information

for individuals identified as employees of the Russian FSB, the Federal'naya sluzhba bezopasnosti



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Rossiyskoy Federatsii, the main successor agency to the USSR’s Committee of State Security, the

KGB. For example, in the defendant’s electronic contact list, there was an email account listed at

an FSB-associated domain. Another document uncovered during the execution of a search warrant

contained a hand-written note, entitled “Maria’s ‘Russian Patriots In-Waiting’ Organization,” and

asking “How to respond to FSB offer of employment?” Based on this and other evidence, the FBI

believes that the defendant was likely in contact with the FSB throughout her stay in the United

States. Additionally, FBI surveillance observed Butina in the company of a Russian diplomat in

the weeks leading up to that official’s departure from the United States in March 2018. That

Russian diplomat, with whom Butina was sharing a private meal, was suspected by the United

States Government of being a Russian intelligence officer. The concern that Butina poses a risk

of flight is only heightened due to her connection to suspected Russian intelligence operatives.

       Moreover, like any sovereign nation, the Russian Federation has the ability to remove, or

exfiltrate, its citizens from foreign countries. And due to international law and treaty restrictions,

law enforcement would be prevented from stopping Butina from entering the Russian Embassy.

Under these circumstances, a passport would not be necessary for Butina to depart the jurisdiction

of the United States. Accordingly, even with a full combination of the most restrictive measures,

for example, (i) house arrest, (ii) electronic monitoring, (iii) high-intensity monitoring, (iv) any

monetary bond or agreement to forfeit property, (v) retained passport, and (vi) third party

custodian, the defendant need only seek refuge in a diplomatic facility, well before Pretrial

Services would ever be alerted, let alone be able to respond. Simply put, neither the Court nor

law enforcement could stop her or has any recourse or remedy, in the event Butina decided to seek

safe harbor in a diplomatic facility.




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      2. Butina Was Considered a Covert Russian Agent by the Russian Official

         FBI agents have also discovered messages between Butina and the Russian Official in

which the Russian Official likened Butina to one member of a ring of Russian covert agents who

were arrested in 2010. Specifically, in March 2017, after a series of media articles were published

about Butina, the following conversation ensued:

            Russian Official: Good morning! How are you faring there in the rays of
            the new fame?[] Are your admirers asking for your autographs yet? You
            have upstaged Anna Chapman. She poses with toy pistols, while you are
            being published with real ones. There are a hell of a lot of rumors
            circulating here about me too! Very funny!

            Butina: It is curious that only our liberal media published the translation of
            the article. Yesterday I was pressing for an interview to Komsomolka but
            they are silent. It was probably our [people] that stood up for me.

            Russian Official: I only saw it in the Echo [of Moscow] Blog and on the
            InoSMI site. What do you expect from the liberals anyway?!

            Butina: It’s the other thing that is important: evidently, there is an Order not
            to touch us. I believe it is a good sign.

            Russian Official: For now – yes, but should things shift, then we are
            guaranteed a spot on the list of ‘agents of influence.” . . .

            Butina: It’s better to keep a low profile now. For some time. You probably
            got in trouble because of that nasty leak? Sorry. . . .

            (Translated from Russian.)

         The FBI believes that in this communication, the Russian Official was referring to Anna

Vasilyevna Chapman, a Russian intelligence agent who gained notoriety after being arrested in

the United States in 2010. At the time of her arrest, Chapman was accused of acting on behalf of

the     Russian   Federation's     external    intelligence    agency,     the    Sluzhba      vneshney

razvedki (SVR). Chapman pleaded guilty to a charge of conspiracy to act as an agent of a foreign



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government and she and the other Russians were deported to Russia on July 8, 2010, as part of a

Russia – U.S. prisoner swap.

       The Twitter direct messages between Butina and the Russian Official also contain multiple

references to Butina acting covertly, such as the following exchange, from October 5, 2016, after

the Russian Official asked about the status of the “Russia-USA friendship society”:

           BUTINA: It’s not alive. We are currently “underground” both here and
           there. Now, private clubs and quite [sic] influence on people making
           decisions is the trend. No publicity.

           BUTINA: Advisor – is the profession of the current day. Even a secret
           advisor. Right now the Administration here is flexible – and there is the
           idea, so that the right thoughts would dominate.

The following exchange occurred just a week later, on October 12, 2016:

           BUTINA: Don’t do that! Take it easy on yourself. Important things are
           ahead of us!

           RUSSIAN OFFICIAL: In this sense, you probably shouldn’t be going as an
           observer from Russia. The risk of provocation is too high and the “media
           hype” which comes after it.

           BUTINA: I agree! I did not even plan on it without you! Only incognito!
           Right now everything has to be quiet and careful.

           (Translated from Russian.)

On January 20, 2017, in response to a photo Butina sent to the Russian Official of her near the

U.S. Capitol on Inauguration Day, the Russian Official responded, “You’re a daredevil girl! What

can I say![]” Butina responded, “Good teachers![]”

       Based on the Russian Official’s comments, the Court should conclude the defendant is

considered to be on par with other covert Russian agents.        Her risk of flight under these

circumstances increases immeasurably.




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   3. Butina Has Ties to the Russian Oligarchy

       In addition to her ties to the Russian government, there is evidence that Butina is well-

connected to wealthy businessmen in the Russian oligarchy. Her Twitter messages, chat logs, and

emails refer to a known Russian businessman with deep ties to the Russian Presidential

Administration. This person often travels to the United States and has also been referred to as her

“funder” throughout her correspondence; he was listed in Forbes as having a real-time net worth

of $1.2 billion as of 2018. Immediately prior to her first trip to the United States in late 2014,

Butina engaged in a series of text messages with a different wealthy Russian businessman

regarding budgets for her trip to the United States and meetings with the aforementioned “funder.”

Individuals such as these wealthy businessmen could, through their wealth and influence, be in a

position to offer a safe harbor for Butina.

   4. Butina Proposed Applying for a U.S. Student Visa as Part of the Operation

       The FBI has uncovered electronic communications revealing Butina’s involvement in the

planning of the covert influence operation with U.S. Person 1. This series of communications

included a discussion about how Butina could best enter and remain in the United States. Butina

chose a student visa from a range of options for her ultimate application, but not before a lengthy

discussion of the risks associated with traveling to the United States repeatedly on a tourist visa.

The FBI has discovered text messages and emails between U.S. Person 1 and Butina in which

Butina would routinely ask U.S. Person 1 to help complete her academic assignments, by editing

papers and answering exam questions.          In other words, although she attended classes and

completed coursework with outside help, attending American University was Butina’s cover while

she continued to work on behalf of the Russian Official.




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       It is not uncommon for agents of a foreign government to assume cover occupations,

including posing as students, while operating on behalf of the foreign power. It is notable that

Butina stated, under penalty of perjury, that she was no longer employed by the Russian Official

at the time she applied for her student visa. Butina likely only admitted her affiliation with the

Russian Official at all because she had been previously publicly linked with that Russian Official

in media reports. Her false attestation on the visa application was premediated and consistent with

her actions being part of a Russian operation.

   5. Butina’s “Tie” to the United States is a Duplicitous Relationship

       During the course of this investigation, the FBI has determined that Butina gained access

through U.S. Person 1 to an extensive network of U.S. persons in positions to influence political

activities in the United States. Butina, age 29, and U.S. Person 1, age 56, are believed to have

cohabitated and been involved in a personal relationship during the course of Butina’s activities in

the United States. But this relationship does not represent a strong tie to the United States because

Butina appears to treat it as simply a necessary aspect of her activities. For example, on at least

one occasion, Butina offered an individual other than U.S. Person 1 sex in exchange for a position

within a special interest organization. Further, in papers seized by the FBI, Butina complained

about living with U.S. Person 1 and expressed disdain for continuing to cohabitate with U.S.

Person 1.

   6. Butina Was Taking Steps to Leave the Washington, D.C., Area

       Finally, in the days leading up to her arrest, Butina was observed by the FBI taking steps

consistent with a plan to leave the Washington, D.C., area and possibly the United States. First,

Butina applied for a B1/B2 visa, which would allow her to travel to and from the United States.

On July 14, 2018, Butina and U.S. Person 1 were followed to a U-Haul truck rental facility where



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they inquired about renting a moving truck and purchased moving boxes. When agents executed

a warrant at their Washington, D.C., apartment on July 15, 2018, the defendant’s belongings were

packed and a letter was discovered notifying the landlord that the lease was to be terminated on

July 31, 2018.

        In addition, on July 12, 2018, Butina and U.S. Person 1 were observed entering a bank in

Washington, D.C., and sending an international wire transfer in the amount of $3,500 to an account

in Russia. Although the government does not proffer that it knows the purpose of that transfer at

this point, the amount shows her access to funds, and the location of the recipient underscores her

ties to Russia.

        Even if Butina were only trying to leave the immediate Washington, D.C., area, her sole

real tie to the United States at all is U.S. Person 1, who, as the affidavit in support of the complaint

demonstrates, was instrumental in aiding her covert influence operation, despite knowing its

connections to the Russian Official.

              No Condition or Combination of Conditions Will Reasonably Assure the
                                Defendant’s Appearance in Court

    1. Nature and Circumstances of the Offense(s) Charged

        The circumstances of the offenses charged in this case overwhelmingly support detention.

By its very nature, this case involves charges against a foreign national whose demonstrated

allegiance is to Russia. Her strong incentive is to retreat to Russia where she will never be required

to submit to the jurisdiction or orders of a United States court.

        The charges in the Indictment are properly characterized as serious due to the possible

statutory penalties; the duration and complexity of the criminal conduct; and the fact that the

charges include multiple layers of deceit, including misleading statements to the U.S. State

Department. See United States v. Anderson, 384 F. Supp. 2d 32, 39 (D.D.C. 2005) (defendant’s

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“historical unwillingness to be forthright in his dealings with government officials” relevant to

flight risk).

        The possible maximum terms of imprisonment that the defendant faces upon conviction

provide an incentive to flee. See United States v. Townsend, 897 F.2d 989, 995 (9th Cir. 1990).

The defendant faces ten years of imprisonment on the charge of a violation of 18 U.S.C. § 951 and

five years of imprisonment for violating 18 U.S.C. § 371. Courts have repeatedly held that with

serious charges and the possibility of considerable punishment comes “a substantial incentive to

flee the United States.” See Hong Vo, 978 F. Supp. 2d at 43 (finding detention appropriate for

defendant facing stiff penalties for bribery and visa fraud). Simply put, Butina has no incentive to

appear before this Court and submit to the jurisdiction of the United States.

    2. The Weight of Evidence Against the Defendant

        Courts also consider the weight of the evidence in assessing the risk of light.

18 U.S.C. § 3142(g)(2). The weight of the evidence against the defendant is substantial. The FBI

has acquired email and other electronic evidence documenting Butina’s work on behalf of Russia,

including taskings, reporting, and attempts to be “incognito.”       The evidence establishes that

Butina’s purpose for coming to the United States was to work on behalf of the Russian Federation.

Further, numerous witnesses will testify about the influence activities described in the complaint.

    3. The History and Characteristics of the Defendant

        The defendant’s history and characteristics likewise support pretrial detention. Butina is a

Russian citizen with no meaningful ties to the United States; she has every reason to flee this

prosecution. Butina entered the United States with the express purpose of working as part of a

covert Russian influence campaign and did not disclose that fact—not on her visa application and




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not to the Attorney General. The Court should have no confidence that she would abide by any

conditions of release, and the Court has no recourse to assure her appearance.

       For obvious reasons, courts routinely find a serious risk of flight where, as here, a foreign-

national defendant has few or no ties to the United States. See, e.g., United States v. Kachkar, 701

F. App’x 744, 747 (11th Cir. 2017); United States v. Frater, 356 F. App’x 133, 135 (10th Cir.

2009); United States v. Hussain, 6 F. App’x 50, 51-52 (1st Cir. 2001); United States v. Townsend,

897 F.2d 989, 996 (9th Cir. 1990).

                                           Conclusion

       The defendant is a foreign agent who loyally acted on behalf of the Russian government.

Based on the nature of the charges and the weight of the proffered evidence against the defendant,

no condition or combination of conditions will reasonably assure the appearance of the defendant

at trial. Under the factors set forth in 18 U.S.C. § 3142(g), the government has demonstrated by a

preponderance of the evidence that the defendant is a flight risk.




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       For the foregoing reasons, as well as those that the government will demonstrate at any

hearing on this matter, the government requests that the Court order the pre-trial detention of the

defendant.

                                                     Respectfully submitted,

                                                     JESSIE K. LIU
                                                     UNITED STATES ATTORNEY
                                                     D.C. Bar Number 472845


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